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Carranza-Reyes v. Park County

Moises Carranza-Reyes, Volume Il

 

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Q. You said yesterday -- I think -- that you
take Tylenol medication. !s that true?

A. Every once in a while.

Q. How often?

A. Sometimes if | have pain, I take it for a
full day, and then I try and talk myself into thinking
that there is -- the pain is gone, but it's very
difficult.

Q. Is that Tylenol that you can buy at the
store without a prescription?

A. Yes,

Q. You said yesterday also that you had taken
some medication a week or two ago for the flu; is that
right?

A. Yes.

Q. With the exception of that medication that
you took a week or two ago for the flu, are you taking
any other prescription medications?

A. Not anymore. [ was taking something that
that doctor had prescribed for me for the pain, but she
said not to take it anymore because it was not having an.
effect.

Q. Can you tell me, are there any medical bills
that you incurred as a result of your leg that have not
been paid?

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A. Yes.

Q. Can you tell me how much, in terms of
dollars, is outstanding or that has not been paid?

A. I don't have an exact figure, but I could
give you an estimate of maybe $800,000 or more.

Q. Has anyone paid any of the medical bills on
your behalf?

A. | don't know, but I think so. I don't
remember, though.

Q. Who paid -- who do you think paid medical
bills on your behalf?

A. I don't know who it would have been, I
don't know what the person's name would have been, but
somebody called me from the hospital or the finance
company or finance office and said something like there
had been a payment made of something like $200,000, but I
don't know who.

Q. Do you know if the Mexican government paid
that on your behalf?

A. I don't think so, but I don’t know.

Q. You don’t know what organization + you said
you don't have the name of an individual, but do you know
what organization paid that on your behalf?

A. PLAINTIFF'S
person very well. but | EXHIBIT

  
 

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immigration. [don't know. I don't know.
Q.
understanding of your education. How old were you when
you stopped attending school?
A. Might have been around 16 years. more or
less. 16, maybe 17. I don't remember.
Q. Have you applied for a work permit here in
the United States?
A.
Q. Why did you retire from your job as a police

I want to clear up, | guess, my

No. sir.

officer?
MR. KORDICK: Asked and answered.

A. You want me to answer it again?

Q. (BY MR, SARGENT) Please.

A. Well, people in Mexico -- well, it's like
they don't recognize the risk that you're taking, You
risk your life, and what you get for it doesn't make any
sense, and you risk a lot, and you don't really get
anything for it, so it doesn't make sense.

Q. Why did you stop your job selling shoes?

A. Because | bought a taxi and started as a
taxi driver,

Q. Why did you stop then being a taxi driver?

A. [went to go into the Army.
MR. SARGENT: [ think those are all of my

 

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questions today. I appreciate your time and your
patience over the last two days. Thank you very much.

THE DEPONENT (Through Interpreter): Thank
you to everyone.

MR. RINGEL: I have two.

MR. KORDICK: These don't deal with
McDonald's prices, do they?

MR. RINGEL: Close but no cigar.

EXAMINATION

BY MR. RINGEL:

Q. What is the address of the Wal-Mart where
you got your glasses?

A. _ It's over there on 92nd and Grant, Thornton,
Washington, around there.

Q. Is there more than one Wal-Mart in Thomton,
or is there only one in Thornton?

A. — Just one.

Q. You -- in response to a question that Mr.
Sargent asked you, you talked about that your father was
processing paperwork for you. What were you referring
to?

He filed a petition for residency for me.
Residency in the United States?

Yes, sir.

For you to become a resident alien; is that

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FIDENTIALITY DESIGNATIONS *
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1 correct? CERTIFICATION
2 A. Yes. I, THERESA A, COFFMAN, Federal Certified
3 Q. Did he also fill out paperwork for you to Realtime Reporter. appointed to take the deposition of

MOISES CARRANZA-REYES,

certify that prior to the deposition the witness was
swom by Laura Corning to teil the truth: that the
deposition was taken by us at 1125 17th Street, Suite
600, Denver, Colorado 80202 on January 17, 2006; that the
proceedings were reduced to typewritten form by
computer-aided transcription consisting of 98 pages
herein; that the foregoing is an accurate transcript of
the proceedings.

I certify review of the transcript was
requested,

I further certify I am not related to any
party herein nor their counsel and have no interest in
the result of this litigation.

IN WITNESS WHEREOF, I have hereunto set my
hand this 27th day of January, 2006.

4 become an individual who was allowed to work in the
5 United States?

6 A. [don't know, sir,
7 Q. When did your father submit -- let me ask
8 you this: Do you know whether your father submitted that
9 paperwork on your behalf?

10 A. I don't know if he did that or not, but I

11 think he did.

12 Q. What was the date of your father's death?

13 A. It was in 2002. I don't remember the date.

14 Q. Soifhe submitted paperwork on your behalf,

13. it was prior to his death in 2002, correct?

16 A. True.

17 Q. Did you ever hear from anyone about the

18 status of any paperwork that was submitted by your father
19 on your behalf?

20 A. No.

 

2k Q. Do you still have a copy of your State of

22 Mexico driver's license today? THERESA A. COFFMAN

23 A. Not a copy. Federal Certified Realtime Reporter
24 Q. Do you have the original?

25 A. Yes, sir.

 

 

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MR. RINGEL: | don't have any further

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SIGNATURE OF WITNESS
I, MOISES CARRANZA-REYES, do hereby certify

 

 

 

 

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2 questions. Thank you. Gentlemen? that | have read the deposition and that the foregoing
3 MR. ARCHULETA: Nothing. transcript and accompanying change sheets, if any,
4 THE REPORTER: Lloyd, are you handling testimony a true and complete transcript of my
5 signature?
6 MR. KORDICK: Yeah. Now, you've done that
7 in Spanish and English both? MOISES CARRANZA-REYES
8 WHEREUPON, the within proceedings were Date Read and Signed:
9 concluded at the approximate hour of 4:48 p.m. this 17th | SUBSCRIBED AND SWORN TO before me this _ day of
10 day of January, 2006. . .
1] * * *
12 ( )} Changes attached  ( ) No changes
13
14 NOTARY PUBLIC
15 Add
ress:
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y commission expires:
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5 -
* Re: Carranza-Reyes v. Park County, et al.
21 Date of Deposition: January | 7, 2006
29 Trial Date: None set
Volume: HH
23 Reporter: TC
24 Proofer; MKH
25 Audio: SC

 

 

 

Pages 345 to 348
* SUBJECT TO CONFIDENTIALITY DESIGNATIONS *
